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UNITED STATES DlSTRICT COURT
SOUTHERN DlSTRlCT 0F FLORlDA

CASE NO.
JANICE ANTO|NE,
Plaintiff,

CITY OF NORTH MIAM|, a Muricipality
within Mian'i-Dade Comry, F|orida. And
Comcilnnn Phi|ippe Bien-Aime;

 

Defendam.
j
§_QMEM
NAB.I_BE_QEAC_U_O_E

Plairiiff, JAN|CE ANTO}NE (hereimfrer referred to as “Plaintif|” or “Ms.
Amoine”), by and mm her msigned anm\ey, sue newman
CITY OF NORTH MlAM|, a Mln'cipa|ity with`n Mian'l`-Dacb County, Florida
(hereinafter referred to as “Defendant") and Defendant, Comcilrmn Phil|ippe Bien-
Ain'e, for damages in excess of $ 75, 000 for violations
of her civil rigrts securing citing her endoymem relationship with Defendant.
Plairltiff Sues Defenchnt mtbrTitle Vll ofthe Civi| Riglts Act of 1964 and 1991, as
an'ended, 42 U.S.C. Section Zme etseq. (“Tltle Vll”), the Civi| Rig\tsAct of1871, as
an'Eand. the Flcl’ida Civil RidrtsAct 0|’199?, Sec'tion 760.01 etseq., Florida
Scatmes (“FcRA”).

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,!BLSJ§IIQ_NALD_\LEBLLE
1. This Cout’sjtrisciction is invd<ed prrsuarrt to 28 U.S.C. Sections 451,
1331,1337and1343. This action arisesmder 42U.&C. Sections 2000eetseq.
and Section 1981.
2 This Cou't has simplen'ental ju'isciction over Plaintiff

State law claims prrsuant to 28 U.&C. Section 1367. Tlis Court has original
jurisciction

over Plairrtiff’s claimsthat arise under federal law and sq:plemental / pendent
jurisciction over her related state law clairn(s).

3. Plaimiff has exhausted her adrirl'strative remedes
Plairrtiff filed a charge of dscrim'nation withthe United States Eq.ral Errployrnent
Opportunity Corm'ission (“EEOC”) head rpon Sexual Harasanent C|aims and
Retaliation Plaintiff initiated this action within ninety (90) days of receipt of the
EEOC’s Notioe of Rigrt to Sue on filed charge All oondtions precedent to institution
oithis action by Plaintiff has beenfulfi||ed

4. PrlsuanttoZBU.SC. Section1391, venueofthis action is properinthe
Southem District of Florida Venue is proper p\.l'suant to28 U.S.C. §1391(b)(ri) because
the Defendarrt m.nicipality is located withinthis District, because the Defendant
rmnicipality en'ploys Plaintiff, bewuse Defendant made adverse errployment decisions

inthis DistriCL

_EABI.|.E_S

5 At all tim material hereto, Defendant, City of North

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Miam', is a nuiicipality within Miani-Dade Cou'dy, Floricla, and it is sui juis

At all times nnteriai hereto, Defendant comimously has been an errployer engaged in an
indistry effecting oorrmeroe within the nearing of Title Vil and the Florida Civil Rights
Act. g 42 U.&C. Section 2003 et seq.. and Section 760.02(7), F|orida Statutes

6. Comci|nnn Philippe Bien-Ain'e actstook place in this Ju'isciction while

errployed by the Defendam.
EA§LLLALLE§AILQ!§_
7. At all times rmterial hereto, Plaintiff was en'¢)loyecl by Defendant.
8. Plaintiff gender is a Fema|e.
9. Plaintiff hasworkedwiththeDefendant since June 06, 2016.

10. Plaintiff heldthe position of Constituent ServiceAide at the time of her
of Sexual Harassn'ent and Retaliation. Also held position of Persome| Specia|ist and
Ad'rinistrative Coorcinator.

T T N
She 11. ln Noverrber and Deoerrber 2016, Defendant advised Plaintiff that
hadto work with Comcilrmn Philippe Bien-Aime in his District 3, since his aide was out
of town with Plaintiff s\pervisor to Haiti. Whi|e diving aromd in Comci|man Philippe
Bien-Aime dstrict, Defendarrt advised Plaintiff of how pretty she was The next day,
Defendant called Plaintiff to advise her ~ she had to ride with Comci|rnan Phiiippe Bien-
Aime m ooml to droper a creek ar the Miarri-Dade county mentions Depannem. on
their way back, Comci|man Philippe Bien-Aime dd not retun to City Hal| or his District
3 irrmedately, instead he dove pass City Hall andtook Plaintiff off 130m NE 14"*

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Ave./Ct. near a dead end between warehouses and railroad tracks Comci|man Philippe
Bien-Aime advised Plaimiff t|'l's is a q.riet place and no one will bother us here. During
that car ordeal, Comcilrmn Philippe Bien-Aime said he was very attracted to Plaintiff

and liked how Plaintiff srr'ells so good and coutch’t resist hertoday. Comcilman Philippe
Bien-Airrethen said, t wonder if “that” srre||s goodtoo. Plaintiff replied “tl'\at”. as she

watched Comci|rmn Philippe Bien-Aine’s eye genre eyeing her crotch area. Plaintiff
replied, Plaintiff is married and asked Comcilrmn Ptilippe Bien-Aime to take her back
to office now. Comci|rmn Philippe Bien-Aime rid not inmeciately follow her request to
return but rediedmonehastoknowtl'rey hadsex andComcilrmn Philippe Bien-Aime
wiil get Plaintiff a full-time position Plaintiff replied again, no, l am married take n'e
back now. Plaintiff amin said noto Cou\cilrren Philippe Bien-Aime sexual advances
butthecal|sandadvancesforsexddnotstop.

12 On Jamary 29. 2017, the City of North Miam‘ had its first Marci Gras
event

and Councilnnn Philippe Bien-Airm had been dirl<ing alcohol because Plaintiff smelled
theheavyaicol'rol oniisbreatheandl'restoppedhernearz"*floorbalcony andsaid-
“don’t go home after Mard Gras torigrt -rmet with ne after Marci Gras” At that point
Plaintiff in'medately blocked his rm‘ber from her work and personnel mobile, because
Plaintiff realized himtryingto help her will never mppen unless she has sex with
Councilrmn Philippe Bien-Aime in return

13. On October 2017, Plaintiffwas corring out ofthe City Ha|l stairwell when
confronted by Comcilnnn Philippe Bien-Aine who said, “why you do not speak to me
since the City Manager moved you from Mayor and Comcil offioe, Plaintiff replies no
its ncr ne Sir it’syouthat havethe problemwith me, becausewhenyoutook ne offjob

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site to Doral because you said you needed my assistance but indeed you wanted sex
fromrreinthecarandltoldyounotlm|l‘raveah\.\sbandandl amhappy,thenyou
made rnethe enerry. “Comci|rnan Philippe Bien-Aimethen says, no it’s not likethat-
it’s not true that he is mad at Plairtiff. Comcilrmn Philippe Bien-Aime proceeds to also
question Plaintiff, vdry are lis phone calls going straight to voicermil when he keeps
calling and Comcilnnn Philippe Bien-Ain'e dals Plaintist luther in front of her to
shows her it goes straight to voioemail. Plaintiff replied to Comcilman Philippe Bien-
Air'm, hewas blockedbecause hekeepscal|ingfor sexual favorsand her demandser
the calls becausethey share farri|y mobile services

13 A|i of the above acts by Comcilrren Phillippe Bien~Aime were not
consensual and were done in orderto cormrom'se the Plaintiff wither position

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LEM_H=_!§

14. on Febmy 2017, Plairrifr meets with oepury city Mamger-Archur
(Duke)
Sorey lll, andadvised himshe needed afew ninutesone onone aftertheirteam meeting
Plaintiff advised Sorey of the up'ofessional harassing and hostile work environment she

has been tltoug\ and he advised her that he doesn’t believe her. Plaintiff left the
meeting

teary eyes and was going to resign Carolina. Condituent Aide for District 2. asked
Plaintiff how dd her one on one meeting go and Plaintiff said, “Dd<e said he dd not
believe whm she said Plaintiff says, Carolina advised her notto resigr and gothe next
step rptothe City Manager, Larry Spring, Jr. Plaimiff even spoke with Chief of Staff
about herwork condtions and nod'iing still wasdone.

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15. On March 2. 2017, Plaintiff met with City Mamger. Larry Spring and
explained

tohimindetailsofwhatshehavebeengoingti'rougrandshehasproofofthe
harassrrerrt and how hostile it has been for her in Mayor and Comcils Office. Spring,
stopped Plaintiff from crying and said he will take care of the nutter and asked Plaintiff
to give him her cu'rent resurr'e. Spring alsogave Plaintiff his personal mobile nunber in
case she shodd ever needto talk with him drectiy.

16. March 6. Z)17, Plaintiff retrmed backto work after takier Friday off and
was called tothe Oflice of Deputy City Manager Sorey, which advised Plaintiff per City
Manager, Plaintiff was being transferred tothe Persomel Departnent effective
imnedately. Plaintiff says, the look on Sorey face was as if he was meet Plaintiff went
over tv`s headtothe City Manager with her corrpliant.

17. On Septerrber 27, 2017, jun when Plaintiffthougit she had a chance at
full-time as prom'sed as Persomel Specia|isi/Adrinidrator, Sorey came downstairs to
Plaintiff's new srpervisor Joseph Rogieri, Jr., Personne| Adrinistration Director and
advised himnot to hire Plaintiff full-time for new fiscal year and toterm'nate Plaintiff as
of tomorrow (Semerrber 28, 2017). Onoe Plaintiff was advised by Rogieri of her
terrrination, Plaintiff im'nedately texted the City Managr, Spring to advise hime
Sorey actions and Sprirrg irm'edately called Plaintiff rpto his Ftice. Plaintiff advised
Spring that Sorey hastem'l’nate her errp|oyn'ent and this is retaliation from Plaintiff
jurrping over Sorey authorization to WtoSrIirg about her March corr'plairrt of being
harassment and being in a hostile working enviromrent and how it’s happening all over
again and she will take legal action. Springassrred Plairtiffthat he will speak to Sorey
and Roglieri and Plaintiff will not be term'rated. Piaintiff continued working for the

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Persomel Departrnent bin not g'ven fdl-tine status as prom'sed but amther contract.
Plaintiff went back and forth talking and texting with Spring which keep advising
Plaintiff he wasworking on ny fill-tins status birt wasadvised by Rodieri, that he
dch’t have the budget to hire Plaintiff fill-time in his department

1& Noven'her 30, 2017, Plairtiff wascalled up by the Director andAsst.

Director of information Tecl*nology Departmem and was interviewed and offered
a full»time position as the newAdrr’nistrative Coordnator full-time for the l.T.
Departn‘ert and to start im'nedate|y. A weekwerit by and Plairtiff called l.T. Director
for an ipdate on her transfer and fri|~time status clarige and he advised Plaintiff all
docu'mntswere srbm'tted and awaiting approval. Tlree weeks passed and Plaintiff
asked Rogieri for an i.pdate on transfer and Rogieri advised Plaintiff he needed approval
from Sorey or the Coincilmen since Spring was not in office and on vacation Plaintiff
asked why does Roglieri need Sorey or Comci|rren approval for an already approved
budgeted ($60,923.20 anni.iallyl$29.29 per hou') fill-time position that Plaintiff was
hired for by the l.T. Deparinents Director/Asst. Director after interviewing on Noven‘ber
30 and excepted terrrsof hire ofthe l.T. Departnents. Plaintiff has beenthe only one to
her lmow|edge and nodheroontracted errployeel'iasbeentl'iror.ig'ithisordeal but
Plaintiff.

19. On Decenber18, 2017, Plairitifiwastiansferred to l.T. Department but
per Rogieri mder yet again another new contract asAd'rl'nistrative Coordinator. Once
Spring retrmed fromvacetion, Plair¢iff advised Spring that she wastired ofthe injustice
and going to seek legal help and tile EEOC cl'ni'ges Plaintiff advised Spring per text
messages she have been black labeled since her coirplaint to him in March 2017 and

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Plaintiff have been dscrininated againd, sexually harassed and been working in an
intentional hostile work ra'ivironmerr because The Cou'ii:ilrrenl Deputy City Manager,
and now Persomel Director is all inontryingto mken Piaintifftoforce her out and
resign from Plaintiff job position The city Manager advised Plaintiff he will work on it
andgetbacktoherwithherconcems; butwasneveroortactedbytherrianager.

20. The Plaintiff is responsible 1for reasonable attorney fees

 

21. HaimiHadogsmdrealignpu'agadsLZD_abwe as if
. l n . l
21. Plaintiffisanenberofaprctected classbecauseofstatus, Female,
22 The Defendantisanen'ployerthaten'p|oys overSOpeople, and is sibject
to42 U.S.C. Section 20(De et go
23. The Defendant has intentionally dscrin'inated against the Plaintiff
ln particrlai' in violation ofTitleVl|, 42 U.S.C. Section 2000e et m by
Creating and fostering a hostile work environirert of Plaintiff.
24. The effect of the actions cor'iplairied of as aforementioned has been to
deprive the Plaintiff of eq.ial errployment opportmities, and othen~ise to
adverser affect her status as an ei'rployee.
25 The tl'ilawftl en'ployment practices oon'plainedofwere intentional.
26. The mlawid encloyrnent practices agairst the Plaintiff

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were done with malice or reckless indfference tothe Plaintiff's federally protected rigits

27. As a drect and pi'orrimiite rosdt of Defendant’s tnlawfu| enployment
practices the Plaintiff was emotionally ham'ed. suffered and will continue to suffer, a
lossofwagasandotherenployment benefits a |ossofeaming capacity, danagestoher
professional reprnation, a loss of dgiity, a loss of the enjoyment of life, enbarrasanent,
hurriliation, and other forn's of mental angish and dstrecs

Wherefore, Plaintiff requests this Cout issue an order against Defendarit
awardingthe Piaintiff conq)ensatory m los back pay, and/or front pay, attorney’s
feesandcosts. togetherwithsuchotherreliefasthiscoin deen'sjust andproper.

QQJLN]'_H
D R l T T
ELQ_BLEA_QML.B]§_HI_$_AQ_'[
28. Plaimiffadoptsatdrealigisparagaphsl;mabmeasifimgm£ateg_

hc[m`ll.

29. Defendant dscrim`nated against Plaintiff because of her being a
Fermle, in violation of the FCRA.

30. The actions by the Defendarit were intentional.

31. meffectifdnactiaiscardaimdofasaforenemionedhasbeento
deprive the Plaintiff of eqra| errployn'ert opportmities, and othenivise to adversely
affect tier status as en'ployee.

32 The unlawful endoyrrmt practices againstthe Plaintiffweredonewith

malice or reckless indfference tothe Plaintist freedom from dscrinination

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within the State of Florida.

33. As a drect and protrin'ate resi.lt of Defendant’s urlawful endoyment
practicesl the Plaintiff was enntionally l'armed suffered and will continue to suffer, a
lossofwagesandotheren'ployn'erit benefits a lossofeamingcapacity, danegestoher
professional reputation a loss of dgiity, a loss of the enjoyment of life, enbarrassment,
huriliation, and other forms of rrerrtal angiish and dstress.

Wherefore, Plaintiff req.iests this Cout issue an order against Defendant
awarder the Plaintiff cor'rpensatory, lost back pay, and/or front pay, attorney’s fees and
costs, together with such other relief asthis Cotlt deerrsjust and proper.

QQ!.lNLl_l.l

l FF’ T ITLE Vll

33. Plaintiff adopts and realigis paragaphs 1-§} above as if
immat$_
listen

34. That the Defendam retaliated against the Plaintiff as described above

35 Defendant’s adverse action against Plaintiff was in violation of Title Vl|
provisions

36. As a drect and prmrimiite rssi.lt of Defenchnt’s uilawful enploynent
practices the Plaintiff was emotionally harmed suffered and will continue to suffer, a
lossofwagesandothererrploynentbenefits, alossofeamingcapacity. damagestoher
professional reputation, a loss of dgtity, a loss of the enjqrment of life, enbarrassmerit,

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inm'iliation, and other forms of mental english and cistress

Wherefore, Plaintiff reqiests this Cotlt i$ue an order against Defendant
awardngthe Plaintiff oonpensatory, lost back pay, and/or front pay, attorney’s fees and
oosts, together with such other relief asthis Cotlt deemsjust and proper.

A N-l

37. Plaintiffadoptsand realig\sparag'apl'\sl;maboveas if immg_

38. Comcitrmn imentionally touched Plaintiff without pernission.
39. The mlanul touc|'lingwasnot§iven with peml‘ssion.

40. Asad‘rectandprominnte resultofthe assa\lt practices the Plaintiff
hasbeen ermtiona|ly hamnd, suffered. andwil| continuetosuffer, a lossofwagesand
other errploynnnt benefits a loss of eaming capacity, damagesto their professional
reputation a loss of dgtity, a loss of the enjoyment of life, en'barrasslmm, huni|iation.
andotherformsofmemal ang.iishandcistress

Wherefore, Plaintiff requests tlis Cotlt issue an order against Comci|rmn
awardng the Plaintiff cmpensstory, lost back pay, and/or front pay, attorney’s fees and
costs, together with such dher relief asthis Cotlt deerrsjust and proper.

Respecl‘fu|ly stbrritted.
Discrim'nation Law Center, P.A.

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Attomeys for Plaintiff
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Byr MR_CBDQ
Jay F. Romano
Trial Attorney
Florida Bar No.: 0934097

VRF T U

lPURSUANT TO 29 U.S.C 81 1746, l DECLARE UNDER PENALTY OF PERJUR¥
THAT THE FOREGO|NG lS TRUE AND CORRECT.

 

 

JAN|CE TO|NE
DATEDZ LY11.

